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                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                     CHARLESTON DIVISION

In Re: Ethicon Inc., Pelvic Repair System Products Liability Litigation
                            MDL No. 2327
                               Civil Action No. ____________
______________________________________________________________________________

                                    SHORT FORM COMPLAINT

   Come now the Plaintiff(s) named below, and for Complaint against the Defendants named

below, incorporate The First Amended Master Complaint in MDL No. 2327 by reference.

Plaintiff(s) further show the court as follows:

  1. Plaintiff

       James C. Bell

  2. Plaintiff’s Spouse (if applicable)

       Kimberly K. Bell

  3. Other Plaintiff and capacity (i.e., administrator, executor, guardian, conservator)

       ___________________________

  4. State of Residence

       Louisiana

  5. District Court and Division in which venue would be proper absent direct filing.

       3rd Judicial District Court for the Parish of Lincoln

       ___________________________________________________________

  6. Defendants (Check Defendants against whom Complaint is made):

                 A. Ethicon, Inc.

                 B. Ethicon, LLC

                                                                                      Revised: 5/29/13
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             C. Johnson & Johnson

             D. American Medical Systems, Inc. (“AMS”)

             E. Boston Scientific Corporation

             F. C. R. Bard, Inc. (“Bard”)

             G. Sofradim Production SAS (“Sofradim”)

             H. Tissue Science Laboratories Limited (“TSL”)

             I. Mentor Worldwide LLC

             J. Coloplast Corp.

 7. Basis of Jurisdiction

             Diversity of Citizenship

             Other: ______________________________

     A. Paragraphs in Master Complaint upon which venue and jurisdiction lie:

             9-11

             ___________________________

             ___________________________

     B. Other allegations of jurisdiction and venue:

     ________________________________________________________________________

     ________________________________________________________________________

     ________________________________________________________________________

     ________________________________________________________________________




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 8. Defendants’ products implanted in Plaintiff (Check products implanted in Plaintiff)

            Prolift

            Prolift +M

            Gynemesh/Gynemesh PS

            Prosima

            TVT

            TVT-Obturator (TVT-O)

            TVT-SECUR (TVT-S)

            TVT-Exact

            TVT-Abbrevo

            Other

            Prolene Soft Mesh

            _________________________________________

 9. Defendants’ Products about which Plaintiff is making a claim. (Check applicable
    products):

            Prolift

            Prolift +M

            Gynemesh/Gynemesh PS

            Prosima

            TVT

            TVT-Obturator (TVT-O)

            TVT-SECUR (TVT-S)

            TVT-Exact

            TVT-Abbrevo




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             Other

            Prolene Soft Mesh

            _________________________________________


 10. Date of Implantation as to Each Product:

             10/04/04

             ________________________________

             ________________________________


 11. Hospital(s) where Plaintiff was implanted (including City and State):

     Willis-Knighton Medical Center

     2600 Greenwood Road, Shreveport, LA, 71103

     318-212-4000

 12. Implanting Surgeon(s):

     Charles R. Byrd, M.D.

     ___________________________________



 13. Counts in the Master Complaint brought by Plaintiff(s):

             Count I – Negligence

             Count II – Strict Liability – Manufacturing Defect

             Count III – Strict Liability – Failure to Warn

             Count IV – Strict Liability – Defective Product

             Count V – Strict Liability – Design Defect

             Count VI – Common Law Fraud

             Count VII – Fraudulent Concealment

             Count VIII – Constructive Fraud

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            Count IX – Negligent Misrepresentation

            Count X – Negligent Infliction of Emotional Distress

            Count XI – Breach of Express Warranty

            Count XII – Breach of Implied Warranty

            Count XIII – Violation of Consumer Protection Laws

            Count XIV – Gross Negligence

            Count XV – Unjust Enrichment

            Count XVI – Loss of Consortium

            Count XVII – Punitive Damages

            Count XVIII – Discovery Rule and Tolling

            Other Count(s) (Please state factual and legal basis for other claims below):



     Emotional/psychological injury beyond usual pain and

     suffering________________________________________________________________

     ________________________________________________________________________


    Address and bar information:                   s/ Cameron N.E. Landry


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